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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

MDL Docket No. 1629

Master File No. 04-10981

THIS DOCUMENT RELATES TO:
Judge Patti B. Saris

THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA v.
PFIZER, INC., and

Magistrate Judge Leo T.
Sorokin

AETNA, INC. v. PFIZER, INC.

New Nee Nee Nae Nene” Smee Nee eee Nee Nee ee”

DECLARATION OF LINDA P. NUSSBAUM

I, LINDA P. NUSSBAUM declare and state as follows:
1. I am a partner with the law firm Kaplan Fox & Kilsheimer LLP, counsel
for Plaintiffs Kaiser Foundation Hospitals Inc. and Kaiser Foundation Health Plan, Inc.,

(together “Kaiser” or “Plaintiffs”) in this action.

2. I submit this declaration in support of Kaiser’s Motion for a Curative
Instruction.
3. I have personal knowledge of the matters stated herein.

4, Attached as Exhibit A is a true and correct copy of Pfizer Inc.’s 2009
Financial Report, available at
http://media.pfizer.com/files/annualreport/2009/financial/financial2009. pdf.
I declare under penalty of perjury that the foregoing is true and correct.
Executed on March 19, 2010

/s/ Linda P. Nussbaum
LINDA P. NUSSBAUM

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CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system has been served

pursuant to Case Management Order #3.

ATTORNEY FOR PLAINTIFFS

/s/ Linda P. Nussbaum
LINDA P. NUSSBAUM

